









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
December 2, 2004









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed December 2, 2004. 

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01090-CV

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&nbsp;

IN RE HAMU TUKE ULLA, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On November 16, 2004, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp;&nbsp; Relator obtained a
default judgment in his divorce, but the trial court granted Relator=s wife=s bill of review.&nbsp; Relator seeks to vacate the trial court=s grant of the bill of review.

Relator has not established that he is
entitled to mandamus relief.&nbsp; See In
re Moreno, 4 S.W.3d 278, 281 (Tex. App.CHouston [14th Dist.] 1999, orig.
proceeding).&nbsp; Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed December 2, 2004.

Panel consists of
Justices Yates, Edelman, and Guzman.





